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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                              CASE NO.: 15-62152-CIV-DIMITROULEAS/SNOW


_____________________________________
SARAH SHAW, REBECCA WILES,
And ASHLEY HOWELL, individually,
and on behalf of all others similarly
situated,

        Plaintiffs,
v.

THE SET ENTERPRISES, INC., et.al.,

        Defendants.


     FINAL ORDER AND JUDGMENT GRANTING MOTION FOR FINAL APPROVAL OF
       THE CLASS ACTION SETTLEMENT, APPROVAL OF SERVICE AWARD, AND
        APPROVAL OF ATTORNEYS’ FEES AND REIMBURSEMENT OF EXPENSES

            This case comes before the Court on Plaintiffs' Motion for Final Approval of the Class

     Action Settlement and Approval of Service Awards, and Incorporated Memorandum of Law in

     Support ("Motion for Final Approval") and Plaintiffs’ Motion for Approval of Attorneys’ Fees

     and Reimbursement of Expenses (“Motion for Fees”). The Court held a final fairness hearing on

     October 27, 2017 (the “Fairness Hearing”) concerning the Motion for Final Approval and the

     parties' Joint Stipulation of Class Action Settlement Agreement and Release (“Settlement

     Agreement”), which the Court previously preliminarily approved.

            In this case, Plaintiffs allege that Defendants own and/or operate three (3) adult enter-

     tainment clubs that conduct business under the moniker “Cheetah,” with locations in Hallandale,

     Florida, Pompano Beach, Florida, and Palm Beach, Florida (the “Nightclubs”). Plaintiffs and the

     Class Members claim to have performed as entertainers at one or more of the Nightclubs. The


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   Class consists of all dancers who performed for at least three (3) days at Cheetah Pompano,

   Cheetah Hallandale or Cheetah Palm Beach at any time from October 13, 2010 to June 30, 2017.

   As entertainers, Plaintiffs and the Class Members were primarily responsible for entertaining

   patrons at the Nightclubs.

          At all times throughout the relevant time period, Plaintiffs received no hourly wage or

   salary from the Nightclubs based upon their classification as non-employees (colloquially termed

   “independent contractors”). In this lawsuit (also referred to herein as the “Litigation”), Plaintiffs

   alleged that Defendants misclassified them as independent contractors, when they were actually

   employees, and as a result Defendants failed to pay them legally mandated minimum wages

   and/or overtime as required under the Fair Labor Standards Act (“FLSA”), and the Florida Min-

   imum Wage Act (“FLMWA”).

          Plaintiffs alleged that Defendants violated the FLSA and FLMWA, by failing to pay the

   entertainers the required minimum wage and/or overtime wages in one or more workweeks. As

   such, Plaintiffs claimed that Defendants were liable to them for an amount equal to the minimum

   wage for all hours worked and time and one-half minimum wage for any overtime hours. See

   Complaint (D.E. 1); Amended Complaint (D.E. 20).

          Although the Court granted Plaintiffs summary judgment holding that they were employ-

   ees under the FLSA and not independent contractors, Defendants maintain that neither Plaintiffs

   nor any of the entertainers were misclassified as independent contractors, and assert that Plain-

   tiffs and the putative class therefore fall outside of the coverage provided by the FLSA and

   FLMWA. The parties also disagree about the type and amount of damages to which each enter-

   tainer would be entitled (if any).

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          A.      Procedural History

          Plaintiffs commenced this case by filing a Complaint on October 13, 2015 alleging viola-

   tions of the FLSA. Thereafter, they filed an Amended Class and Collective Action Complaint on

   November 23, 2015, in which they added class action claims under the Florida Constitution

   (“FLMWA”). See D.E. 20. Subsequently, Plaintiffs moved for conditional certification of a col-

   lective action under the FLSA and sought to send Court-approved notice to all Entertainers simi-

   larly situated to them. See D.E. 125. The Court granted Plaintiffs’ Motion for Conditional Certi-

   fication in part by Order dated December 5, 2016. See D.E. 134. 37 additional Entertainers (40

   total including the named Plaintiffs) opted in to the case by filing their consents to join prior to

   the expiration of the opt-in period. See Docket, generally.

          On December 28, 2016, Defendants filed their Motion for Summary Judgment. D.E. 150.

   Plaintiffs filed their Opposition to Defendants’ Motion for Summary Judgment on January 11,

   2017. D.E. 160. Thereafter, Defendants filed their Reply on their Motion for Summary Judg-

   ment on February 10, 2017. D.E. 173. By Order dated March 17, 2017, the Court granted in

   part and denied in part Defendants’ Motion for Summary Judgment. D.E. 186. Specifically, the

   Court held that Plaintiffs were employees subject to the coverage of the FLSA and not independ-

   ent contractors, and that Defendants could not credit against Plaintiffs’ wages the dance tips

   Plaintiffs were paid by patrons. See id. The Court further held that Plaintiffs failed to create an

   issue of fact as to whether they worked in excess of 40 hours per week and therefore granted De-

   fendants’ Motion with regard to the named Plaintiffs’ overtime claims. Id.

          Following the Court’s Order on Defendants’ Motion for Summary Judgment, on April

   19, 2017, the Parties agreed to attend a settlement conference to be conducted by a Magistrate

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   Judge and filed a Joint Motion for Order Referring the Parties to Attend a Settlement Conference

   before Magistrate Judge Edwin G. Torres or Jonathan Goodman. D.E. 200.

          At that settlement conference, the Parties fully resolved all pending claims on a class-

   wide basis. In order to conform the pleadings to the scope of the Parties’ settlement, Plaintiffs

   filed an amended operative Complaint, the Second Amended Complaint on May 15, 2017. D.E.

   228.

          On June 29, 2017, the Plaintiffs filed an Unopposed Motion for Preliminary Approval of

   Settlement, Conditional Certification of the Settlement Class, Appointment of Plaintiffs’ Counsel

   as Class Counsel, and Approval of the Proposed Notice of Settlement and Class Action Settle-

   ment Procedure and Memorandum of Law in Support. D.E. 237. On June 30, 2017, the Court

   granted Plaintiff’s Unopposed Motion for Preliminary Approval of Settlement, Conditional Cer-

   tification of the Settlement Class, Appointment of Plaintiffs’ Counsel as Class Counsel, and Ap-

   proval of the Proposed Notice of Settlement and Class Action Settlement Procedure ("Order").

   D.E. 239.

          On August 7, 2017, the Class Notices were mailed to all 4,520 Class Members. To be

   considered timely, all Completed Claim Forms, Opt-Out Forms and objections had to be post-

   marked by October 6, 2017. As of the Fairness Hearing, assuming all such postmarked submis-

   sions had been received, 108 Class Members have responded, of which none objected, 11 opted

   out and 103 submitted what appear to be valid claims.




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          B.      Discovery

          During the course of discovery and as part of settlement negotiations, Defendants made

   thousands of pages of documents and computer records available to Plaintiffs and their expert

   accountant. These documents included corporate policies, Entertainer onboarding documents,

   independent contractor and licensee agreements between most class members and one or more of

   the Defendants, internal records pertaining to the period of time each class member performed at

   one of the Nightclubs, and Entertainer rosters. The Parties also conducted 14 depositions, in-

   cluding the depositions of the corporate representative for several of the Defendants and twelve

   of the Plaintiffs and opt-in Plaintiffs. In addition, Plaintiffs’ counsel interviewed many of the

   opt-in Plaintiffs regarding the alleged wage violations at issue in the case.


          C.      Settlement Negotiations and Mediation

           On March 7, 2017, the Parties participated in half-day mediation in Fort Lauderdale,

   Florida, with the assistance of Mediator, Cindy Hannah. Ms. Hannah is a very knowledgeable

   and skilled wage and hour class action mediator. Ultimately, the parties were unable to reach a

   settlement at mediation and the mediation reached an impasse.

           Subsequent to the half-day mediation, the Parties continued their settlement discus-

   sions. However, they were still unable to reach an agreement to resolve the instant claims. Fol-

   lowing the Court’s Order on Defendants’ Motion for Summary Judgment, on April 19, 2017,

   the Parties commenced renewed settlement talks, and agreed to attend a settlement conference

   to be conducted by a Magistrate Judge and filed their Joint Motion for Order Referring the Par-

   ties to Attend a Settlement Conference before Magistrate Judge Edwin G. Torres or Jonathan


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   Goodman. See D.E. 200. In the three (3) weeks leading up to the Magistrate-conducted settle-

   ment conference, the Parties engaged in intense settlement negotiations, regarding both the

   monetary recovery and the material non-monetary terms. To that end, the Parties exchanged

   half a dozen drafts and counter-drafts of material terms in the three (3) weeks prior to the set-

   tlement conference. At the settlement conference, the Parties fully resolved all pending claims

   on a class-wide basis.

           D.     The Class Received Adequate Notice

          On June 30, 2017, the Court took the first step in the settlement approval process when it

   granted preliminary approval of the settlement and directed that notice be mailed to Class Mem-

   bers. See D.E. 239.

          On August 7, 2017, the Class Notices, were mailed to all 4,520 Class Members. Under

   the Settlement Agreement, the post-mark deadline to make a claim, opt out or object was Octo-

   ber 6, 2017. These dates were clearly stated in the Class Notice.

          As of the cut-off date of October 6, 2017, no Class Members objected to the settlement,

   103 Class Members opted in, and 11 Class Members excluded themselves.

           E.     Final Approval is Warranted

          Having considered the Motion for Final Approval, the supporting memorandum of law,

   the Declaration of John B. Gallagher and exhibits thereto; the oral arguments presented at the

   Fairness Hearing; and the complete record in this matter, for the reasons set forth therein and

   stated on the record at the Fairness Hearing and for good cause shown,

          IT IS HEREBY ORDERED, ADJUDGED AND DECREED, THAT:

          1.      This Order incorporates by reference the definitions in the Settlement Agreement,

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   and all capitalized terms used in this Final Judgment shall have the same meanings as set forth in

   the Settlement Agreement, unless otherwise defined herein.

          2.      The Court certifies the Rule 23 and FLSA Classes for purposes of settlement.

          3.      This Court approves the Settlement Agreement and all terms set forth in the Set-

   tlement Agreement and finds that the Settlement Agreement meets the requirements of Rule 23

   and the FLSA. The Settlement Agreement is, in all respects, fair, reasonable, adequate, not a

   product of collusion, and the resolution of a bona fide dispute. See Fed. R. Civ. P. 23(e); see also

   Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982).

          4.      The $1,900,000.00 maximum settlement amount is substantial and includes mean-

   ingful payments to Class Members. In reaching this conclusion, the Court is satisfied that the set-

   tlement was fairly and honestly negotiated. It was the result of vigorous arm's-length negotia-

   tions, which were undertaken in good faith by counsel with extensive experience in litigating

   wage and hour class actions, and serious questions of law and fact, exist such that the value of an

   immediate recovery outweighs the mere possibility of further relief after protracted and expen-

   sive litigation. See In re: U.S. Oil & Gas Litig., 967 F.2d 489, 493 (11th Cir. 1992) (noting that

   “public policy strongly favors the pretrial settlement of class action lawsuits.”).

          5.      The parties' judgment that the settlement is fair and reasonable, as well as the

   Class’s favorable response to the settlement, weighs in favor of final approval of the settlement.

   See, e.g., Francisco v. Numismatic Guar. Corp. of Am., 2008 WL 649124, at *12 (S.D. Fla.

   2008) (“A low percentage of objections will confirm the reasonableness of a settlement and sup-

   port its approval.”) (citing Stoetzner v. United States Steel Corp., 897 F.2d 115, 118-19 (3d Cir.

   1990)); Perez v. Asurion Corp., 501 F. Supp. 2d 1360, 1381 (S.D. Fla. 2007) ("A low percentage

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   of objections demonstrates the reasonableness of a settlement.").

          6.      The Court therefore enters Judgment in accordance with the Settlement Agree-

   ment. Upon the effective date of the Settlement, each Class Member shall release all Florida

   state law claims asserted in this lawsuit through June 30, 2017, along with all other claims aris-

   ing out of or relating to the same alleged conduct, as set forth in the Settlement Agreement, and

   attorneys' fees and costs to date related to such claims.

          7.      All Class Members who opted in and/or submitted valid claims additionally for-

   ever and fully release all FLSA claims asserted in this lawsuit through June 30, 2017, including

   all FLSA claims for unpaid overtime wages, liquidated damages, and attorneys' fees and costs

   related to such claims.

          8.      This Court awards Class Counsel 21.5% of the Maximum Settlement Payment, or

   $400,000.00, as attorneys' fees and $40,398.92 for costs and expenses incurred in this Litigation,

   for a total of $440,398.92, to be paid from the Maximum Settlement Payment as set forth in the

   Settlement Agreement.

          9.      The Court finds that the amount of fees requested is fair and reasonable using the

   “percentage of recovery” method, which is consistent with the dictates of the Eleventh Circuit.

   Camden I Condominium Ass’n v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991); In re Sunbeam Sec.

   Litig., 176 F. Supp. 2d 1323, 1333 (S.D. Fla. 2001).

          10.     Class Counsel's request for 21.5% of the Maximum Settlement Payment is also

   consistent with the trend in this Circuit. See, e.g., Seghroughni v. Advantus Rest., Inc., 2015 WL

   2255278, at *1 (M.D. Fla. May 13, 2015) (“An attorney's fee… which is one-third of the settle-

   ment fund… is fair and reasonable in light of the results obtained by the Lead Counsel, the risks

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   associated with this action, the Lead Counsel's ability and experience in class action litigation,

   and fee awards in comparable cases.”); Wolff v. Cash 4 Titles, 2012 WL 5290155, at *4 (S.D.

   Fla. Sept. 26, 2012) (“One-third of the recovery is considered standard in a contingency fee

   agreement.”); Hosier v. Mattress Firm, Inc., 2012 WL 2813960, at *4 (M.D. Fla. June 8, 2012)

   (approving a common fund FLSA settlement which provided 30% of the common fund for attor-

   neys’ fees and costs); Morefield v. NoteWorld, LLC, 2012 WL 1355573 (S.D. Ga. April

   18, 2012) (class settlement approved with 33 1/3 of the common fund payable as attorneys’

   fees); Atkinson v. Wal-Mart Stores, Inc., 2011 WL 6846747, at *6 (M.D. Fla. Dec. 29, 2011)

   (approving class settlement with one-third of maximum common fund apportioned as attorneys’

   fees); Gutter v. E.I. DuPont De Nemours & Co., No. 1:95–cv–02152–ASG, D.E. 626 at 7 (S.D.

   Fla. May 30, 2003) (awarding class counsel 33.3% of the Settlement Fund as attorneys' fees

   ($1,201,728.42) because they expended significant time and resources on a purely contingent

   basis under the common fund theory); In re Terazosin Hydrochloride Antitrust Litig., No. 1:99–

   md–01317–PAS, Doc. No. 1557 at 8–10 (S.D. Fla. Apr. 19, 2005) (awarding class counsel

   33.3% of settlement fund in part because they prosecuted the action on a wholly contingent ba-

   sis).

           11.    The attorneys' fees requested were entirely contingent upon success in this litiga-

   tion. Class Counsel expended significant time and effort and advanced costs and expenses with-

   out any guarantee of compensation.

           12.    This Court approves the following service payments, to be paid from the Maxi-

   mum Settlement Payment as set out in the Settlement Agreement: $5,000 to Sarah Shaw; $5,000

   to Rebecca Wiles; and $5,000 to Ashley Howell. The service payments are in recognition of the

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    Class Representative Plaintiffs’ active participation in this action and service to the settlement

    Class, as well as the risks they undertook for the benefit of the Class. These service payments are

    reasonable in light of the efforts this individual expended in furthering the interests of the Class.

    David v. American Suzuki Motor Corp., 2010 WL 1628362, at *6 (S.D. Fla. Apr. 15, 2010)

    (“There is ample precedent for awarding incentive compensation to class representatives at the

    conclusion of a successful class action.”).

           13.     Defendants shall pay the total amount of the Qualified Class Members’ claims,

    Class Counsel’s fees and costs, and Claims Administrator fees (if any), once determined, in four

    equal payments over the course of the twenty-four (24) month period commencing thirty (30)

    days following the Effective Date and every ninety (90) days thereafter, per the parties’ agree-

    ment, although not reflected as such in the Settlement Agreement. The Parties have acknowl-

    edged in writing to the Court and to each other that the agreement is for the Qualified Class

    Members to be paid over the course of a twenty-four (24) month period. 1

           14.     Defendants shall pay the total amount of the service payments sixty (60) days af-

    ter the Effective Date.

           15.     The case is dismissed with prejudice and without costs to any party. All Class

    Members are barred and permanently enjoined from participating in any other individual or class

    lawsuit against the Releasees concerning the Released Claims, as defined in the Settlement


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      At the Fairness Hearing, the Parties explained that they are still in the process of finalizing the
    allocation to each Qualified Class Member. To the extent the Parties are unable to agree on the
    final allocation to one or more Qualified Class Member, the Court reserves jurisdiction to resolve
    this issue and any pendant issue (i.e. supplemental attorneys’ fees/costs, if any). The parties
    have agreed that any such dispute as to calculation will be litigated before the Magistrate Judge.

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    Agreement.

              16.    Without affecting the finality of this Judgment and Order, the Court reserves con-

    tinuing and exclusive jurisdiction over parties to the settlement agreement to administer, super-

    vise, construe, and enforce the Settlement Agreement in accordance with its terms for the mutual

    benefit of the parties. To that end, the Court explicitly reserves jurisdiction to resolve any issues

    among the Parties regarding the calculations of the settlement amount allocations for each class

    member.

              17.    The Parties having so agreed, good cause appearing, and there being no just rea-

    son for delay, it is expressly directed that this Final Judgment and Order be, and hereby is, en-

    tered as a final order.

        18.     The Clerk is directed to CLOSE this case and DENY AS MOOT any pending mo-

                tions.

              DONE AND ORDERED in Chambers, at Fort Lauderdale, Broward County, Florida

    this 30th day of October 2017.




    Copies furnished to:
    Counsel of record




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